Case 2:20-cv-00845-RSL Document 1-1 Filed 06/03/20 Page 1 of 28




                          EXHIBIT A
           Case 2:20-cv-00845-RSL Document 1-1 Filed 06/03/20 Page 2 of 28




                                                FILED
 1                                      2020 MAY 15 11:58 AM
                                            KING COUNTY
 2                                     SUPERIOR COURT CLERK
                                               E-FILED
 3
                                       CASE #: 20-2-08900-1 KNT
 4

 5

 6   SUPERIOR COURT OF WASHINGTON
 7   COUNTY OF KING

 8
             SUSAN PADDEN, a single woman
 9

10                                              Plaintiff,       NO. _________________________
             vs.
11                                                               COMPLAINT FOR DAMAGES
             CITY OF DES MOINES, a Washington                    & JURY DEMAND
12           Municipal Corporation, AND
13           MICHAEL MATTHIAS,

14                                           Defendants.
15

16             COMES NOW the Plaintiff by and through her attorneys of record, Patricia Bosmans,

17    Law Office of P. Bosmans, and Eric Krening, Law Office of Eric Krening and alleges as follows:
18
                                               I.      PARTIES
19
     1.1     Plaintiff Susan Padden (hereinafter "Ms. Padden") is a single, adult woman, and a resident
20

21           of Pierce County.

22   1.2     Defendant City of Des Moines (hereinafter "City") is a municipal corporation in King
23
             County, Washington, and defendant Michael Matthias is the City Manager for the City of
24
             Des Moines and a resident of Des Moines, Washington. References to the Defendant are,
25
             for the most part, specific references to Defendant Michael Matthias.

                                                                                 THE LAW OFFICE OF
     COMPLAINT FOR DAMAGES &
                                                                                    P. BOSMANS
     JURY DEMAND ~ Page 1 OF 25                                                    1067 25TH ST. PL. SE
                                                                                  PUYALLUP, WA 98372
                                                                                  ⎯⎯⎯⎯⎯⎯⎯⎯⎯
                                                                              PBOSMANS_LAW@OUTLOOK.COM
           Case 2:20-cv-00845-RSL Document 1-1 Filed 06/03/20 Page 3 of 28




                                    II.     JURISDICTION & VENUE
 1
     2.1     This Court has jurisdiction to review this matter, and venue is proper in this Court pursuant
 2
             to RCW 4.12.020 and 4.92.010.
 3

 4   2.2     The cause of action at issue in this Complaint occurred in the City of Des Moines, King

 5           County.
 6
     2.3     The Claim for Damages was served on the Defendants on February 21. 2020.
 7
                                    III.    JURY DEMAND
 8
     3.1     Ms. Padden hereby demands a trial by jury.
 9

10                                  IV.     STATEMENT OF FACTS

11   4.1     Ms. Sue Padden
12
             4.1.1   Ms. Padden served as Senior Services Manager in the City of Des Moines Parks,
13
                     Recreation and Senior Services Department for 22 years and served on the Des
14

15                   Moines Legacy Foundation Board (hereinafter "DMLF") for 19 years.

16           4.1.2   Ms. Padden has a bachelor's degree in science of health, physical education, and
17
                     leisure sciences from Oklahoma State University.
18
             4.1.3   Ms. Padden has completed a 44-year career in the field of municipal parks,
19
                     recreation and senior services.
20

21           4.1.4   Ms. Padden announced in January of 2018 her decision to retire on June 29, 2018.

22                   Because of her notice, the City could plan for the succession of services at the Des
23
                     Moines Senior Center.
24
             4.1.5   Ms. Padden was aware of an incident that occurred at the June 7, 2018 Board
25
                     Meeting of DMLF during which Des Moines city employees asserted a right to

                                                                                  THE LAW OFFICE OF
     COMPLAINT FOR DAMAGES &
                                                                                     P. BOSMANS
     JURY DEMAND ~ Page 2 OF 25                                                     1067 25TH ST. PL. SE
                                                                                   PUYALLUP, WA 98372
                                                                                   ⎯⎯⎯⎯⎯⎯⎯⎯⎯
                                                                               PBOSMANS_LAW@OUTLOOK.COM
         Case 2:20-cv-00845-RSL Document 1-1 Filed 06/03/20 Page 4 of 28




                   attend any and all meetings of the DMLF and to take possession of the DMLF files.
 1
           4.1.6   Ms. Padden was not aware of any ongoing investigation or audit of DMLF.
 2
           4.1.7   Prior to June 14, 2018, Ms. Padden was not aware of any ongoing investigation or
 3

 4                 audit of herself. She did not take any actions on those dates based on any such

 5                 investigations.
 6
           4.1.8   On June 5, 2002, then-City Manager Anthony Piasecki required Ms. Padden to
 7
                   serve on the DMLF Board of Directors as part of her job duties. (Ex. A).
 8
           4.1.9   Ms. Padden was the DMLF Board member who maintained DMLF records in a
 9

10                 designated drawer at the Senior Center, and who maintained DMLF supplies and

11                 materials at other City facilities.
12
           4.1.10 Ms. Padden had maintained the DMLF records openly with permission from City
13
                   managers such as the Director of Parks, Recreation and Senior Services for 19
14

15                 years.

16         4.1.11 Ms. Padden was not merely an ex officio member of the DMLF Board, but was
17
                   instead, a full member with all fiduciary obligations of a Board member.
18
           4.1.12 Absent direction otherwise, a reasonable person in the shoes of Ms. Padden would
19
                   conclude that the City and Defendant did not find the Board role to be a conflict of
20

21                 interest for Ms. Padden.

22         4.1.13 Ms. Padden in fact did conclude that the City and Defendant did not find the Board
23
                   role to be a conflict of interest for Ms. Padden.
24
           4.1.14 Absent directions to the contrary, she therefore acted in accordance to her duty to
25
                   DMLF.

                                                                               THE LAW OFFICE OF
     COMPLAINT FOR DAMAGES &
                                                                                  P. BOSMANS
     JURY DEMAND ~ Page 3 OF 25                                                   1067 25TH ST. PL. SE
                                                                                 PUYALLUP, WA 98372
                                                                                 ⎯⎯⎯⎯⎯⎯⎯⎯⎯
                                                                             PBOSMANS_LAW@OUTLOOK.COM
         Case 2:20-cv-00845-RSL Document 1-1 Filed 06/03/20 Page 5 of 28




           4.1.15 The City did not place limitations on her service to the Board.
 1
           4.1.16 At no time in June, 2018, did Ms. Padden take the DMLF documents from the file
 2
                  drawer at the Senior Center from City property.
 3

 4         4.1.17 Ms. Padden did not delete records on the City Server. .

 5         4.1.18 Ms. Padden did download DMLF files onto a thumb drive and delivered it to
 6
                  DMLF, as she freely admitted to Defendant.
 7
           4.1.19 Ms. Padden's job duties for DMLF vis a vis checks was to act as courier only.
 8
           4.1.20 In anticipation of her retirement, Ms. Padden prepared a detailed “Succession Plan”
 9

10                and gave a copy to the Chief Operating Officer. Ms. Padden was not hiding her

11                practices from the City or Defendant.
12
           4.1.21 Ms. Padden did not interpret any item of the Succession Plan to be contrary to her
13
                  job duties.
14

15         4.1.22 It was her own succession plan that raised the concerns of the City.

16         4.1.23 Despite the fact that no part of the plan had been hidden from the City, City officials
17
                  failed to question Ms. Padden about her entries.
18
           4.1.24 A simple meeting at that point could have elucidated how Ms. Padden believed the
19
                  City itself intended for DMLF, a separate non-profit could benefit parks, recreation
20

21                and senior services in the Des Moines community in the most timely and

22                straightforward manner possible.
23
           4.1.25 Ms. Padden at no time believed the funds she helped raise through DMLF were
24
                  going anywhere but to serve the parks, recreation and senior services of the Des
25
                  Moines community in the best manner possible as determined the DMLF Board.

                                                                                 THE LAW OFFICE OF
     COMPLAINT FOR DAMAGES &
                                                                                    P. BOSMANS
     JURY DEMAND ~ Page 4 OF 25                                                    1067 25TH ST. PL. SE
                                                                                  PUYALLUP, WA 98372
                                                                                  ⎯⎯⎯⎯⎯⎯⎯⎯⎯
                                                                              PBOSMANS_LAW@OUTLOOK.COM
         Case 2:20-cv-00845-RSL Document 1-1 Filed 06/03/20 Page 6 of 28




           4.1.26 Ms. Padden did not believed she denied the City money it was entitled to use for
 1
                  anything except parks, recreation and senior services.
 2
           4.1.27 If there was a change in policy concerning the liaison with DMLF that would divert
 3

 4                money donated for parks, recreation and senior services to other uses, this policy

 5                change was not explained to Ms. Padden.
 6
           4.1.28 In late 2017, Ms. Padden opposed Defendant regarding his plan to combine the
 7
                  senior services advisory committee and the human services advisory committee
 8
                  prior to her leaving.
 9

10         4.1.29 Prior to June 14, but early in 2018, Ms. Padden pushed the Defendant to make

11                appointments for vacancies on the senior services advisory committee and human
12
                  services advisory committee.
13
           4.1.30 Prior to June 14, 2018, but early in 2018, Ms. Padden attempted to work with HYDE
14

15                Shuttle and METRO regarding the hours of the Metro shuttle routes for senior

16                citizens, and her attempts were opposed by Defendant.
17
           4.1.31 Prior to June 14, 2018, but early in 2018, Ms. Padden sent out an email to persons
18
                  interested in filling her position with salary information from Wesley Homes, which
19
                  was taking over the service, including her position. This action by Ms. Padden
20

21                angered Defendant.

22         4.1.32 Prior to June 14, 2018, but early in 2018, Ms. Padden questioned the City Attorney
23
                  regarding the legality of allowing a contract employee from Wesley Homes with
24
                  no allegiance to the City, to handle city budgets, city funds, and supervise city
25
                  employees.

                                                                              THE LAW OFFICE OF
     COMPLAINT FOR DAMAGES &
                                                                                 P. BOSMANS
     JURY DEMAND ~ Page 5 OF 25                                                 1067 25TH ST. PL. SE
                                                                               PUYALLUP, WA 98372
                                                                               ⎯⎯⎯⎯⎯⎯⎯⎯⎯
                                                                           PBOSMANS_LAW@OUTLOOK.COM
           Case 2:20-cv-00845-RSL Document 1-1 Filed 06/03/20 Page 7 of 28




             4.1.33 Prior to June 14, 2018, but early in 2018, Ms. Padden questioned the City Attorney
 1
                        regarding whether other retirement communities were given the opportunity to
 2
                        express an interest in the senior services contract proposal.
 3

 4           4.1.34 Ms. Padden was called into Defendant's office after he heard about the inquiries set

 5                      forth in paragraphs 4.1.32 and 4.1.33.
 6
     4.2     Des Moines Legacy Foundation
 7
             4.2.1      The DMLF is a non-profit 501 (c)(3) charity.
 8
             4.2.2      At all times relevant to this action, the DMLF was under no contract or legal
 9

10                      obligation to the City of Des Moines.

11           4.2.3      The purpose of the DMLF was to raise money through fundraisers for parks,
12
                        recreation and senior services in the Des Moines community as set out in its Vision
13
                        Statement:
14

15                            Vision Statement: Together, with you, we can build a
                              brighter future through parks, recreation, and senior services
16                            in the Des Moines community. (Ex. B)
17
             4.2.4      The Articles of Incorporation for DMLF filed December 30, 1999 (Ex. C), state:
18
                               The corporation is organized exclusively for charitable and
19                             educational purposes, including, for such purposes, the making
                               of distributions to organizations that qualify as exempt
20
                               organizations under Section 501 (c)(3)...and municipal
21                             corporations exclusively for public purposes.

22           Specifically, the objectives of the corporation are as follows:
23
                      i.   To support the Des Moines community and its residents by helping
24                         to provide charitable and education funds for the betterment of the
                           community.
25                   ii.   To sponsor fund raising projects to provide funds to carry out the
                           above purpose.

                                                                                        THE LAW OFFICE OF
     COMPLAINT FOR DAMAGES &
                                                                                           P. BOSMANS
     JURY DEMAND ~ Page 6 OF 25                                                         1067 25TH ST. PL. SE
                                                                                       PUYALLUP, WA 98372
                                                                                       ⎯⎯⎯⎯⎯⎯⎯⎯⎯
                                                                                   PBOSMANS_LAW@OUTLOOK.COM
         Case 2:20-cv-00845-RSL Document 1-1 Filed 06/03/20 Page 8 of 28




               iii.     To receive gifts, endowments, devises and bequests that will be
                        used to carry out the purposes and objectives of this corporation.
 1
               iv.      To carry on any activities necessary to carry out objectives and
 2                      purposes of this corporation.

 3

 4
           4.2.5     The DMLF Vision Statement and Articles of Incorporation do not state that it raises

 5                   funds solely for the City of Des Moines or its Department of Parks, Recreation and
 6                   Senior Services, nor has the DMLF raised funds solely for the City of Des Moines.
 7
           4.2.6     DMLF possesses no physical offices and hires no employees.
 8
           4.2.7     DMLF understood that any DMLF files left at the Senior Center might not be
 9

10                   accessible to them once Ms. Padden, the senior center manager, retired.

11         4.2.8     The DMLF Board engaged in a disagreement with two employees of the City on
12
                     June 7, 2018, during which time the Board understood the employees to assert that
13
                     they had a right to join all Board meetings and to inspect all Board documents.
14

15
           4.2.9     As a result of that disagreement, Board President, Gene Achziger directed Ms.

16                   Padden to remove DMLF files from the Senior Center.
17
           4.2.10 The minutes of the June 7, 2018 DMLF Board meeting, with 11 members present
18
                     including Brian Snure, attorney at law, set out the following:
19
                     Discussion began with the heavy handiness (sic) of the COO [... her
20
                     title is now Chief Strategy Officers, for the City of Des Moines] to
21                   attend our board meeting. She is not the acting PARD [Parks and
                     Recreation Director] yet. It was recommended that we remove the
22                   parks and rec director from our bylaws. This does not mean that we
                     cannot have city staff on the foundation. They serve on many local
23
                     agencies; Rotary, Farmers Market, etc. We need to move our files,
24                   from city facilities and find a non-city building to meet in...Kim
                     Richmond [Board member] made a motion that we remove the
25                   automatic appointment of the senior services manager with the city of
                     Des Moines from our bylaws, section 3.2. The board will elect a

                                                                                  THE LAW OFFICE OF
     COMPLAINT FOR DAMAGES &
                                                                                     P. BOSMANS
     JURY DEMAND ~ Page 7 OF 25                                                     1067 25TH ST. PL. SE
                                                                                   PUYALLUP, WA 98372
                                                                                   ⎯⎯⎯⎯⎯⎯⎯⎯⎯
                                                                               PBOSMANS_LAW@OUTLOOK.COM
           Case 2:20-cv-00845-RSL Document 1-1 Filed 06/03/20 Page 9 of 28




                     secretary. Patricia Clark seconded. Any city staff on the board will
                     be nominated or appointed by the board, as is any other director.
 1
                     [emphasis added] (Ex. D)
 2

 3           4.2.11 The DMLF Board also removed their supplies which were maintained in a storage
 4
                     unit at the Public Works Service Center.
 5
             4.2.12 At all times relevant to this action, DMLF had expressly maintained its position
 6

 7                   that its records, no matter the location, were not the City' s public records.

 8           4.2.13 This dispute between the parties had not been resolved on or before June 14.
 9
             4.2.14 As stated by Brian Snure, on 8/17/18. a DMLF Board member and long-time
10
                     attorney in Des Moines:
11
                     It is our position that the records currently in our possession are
12
                     Legacy Foundation Records that are owned by the Legacy Foundation
13                   not the City. It is also our position that the Legacy Foundation Records
                     in our possession are not Public Records of the City. If we were to
14                   receive a request for the records, pursuant to the Fortgang Case we
                     would take the position that we are not an agency and our records are
15
                     not public records. In Fortgang, the nonprofit actually had a contract
16                   to manage City employees in the operation of the Zoo. In our case
                     there is even less of a connection with the City and the 4 elements of
17                   the Telford test, would, I believe clearly establish that the Legacy
                     Foundation is not an agency under the PRA despite city employee
18
                     involvement...
19                   I lay out the above not because we have any desire to argue the finer
                     points of the Public Records Act, or to interfere with the City's access
20                   to the records, but to clearly establish as a matter of record, that we
                     consider Legacy Foundation Records to be the property of the Legacy
21
                     foundation and that such records are not public records. (Ex. E.)
22
     4.3     City of Des Moines
23
             4.3.1   The City of Des Moines is audited by the Office of the State Auditor. Prior to June 14,
24

25                   2018, no issues had been raised with regards to DMLF to the best of Ms. Padden’s

                     knowledge.
                                                                                    THE LAW OFFICE OF
     COMPLAINT FOR DAMAGES &
                                                                                       P. BOSMANS
     JURY DEMAND ~ Page 8 OF 25                                                       1067 25TH ST. PL. SE
                                                                                     PUYALLUP, WA 98372
                                                                                     ⎯⎯⎯⎯⎯⎯⎯⎯⎯
                                                                                 PBOSMANS_LAW@OUTLOOK.COM
        Case 2:20-cv-00845-RSL Document 1-1 Filed 06/03/20 Page 10 of 28




           4.3.2   The City allowed DMLF to use a file drawer at the Senior Center and to use the City
 1
                   computer system.
 2
           4.3.3   The practice of allowing DMLF to maintain their files on the City's computer system
 3
                   was an open practice by City employees for 19 years.
 4

 5         4.3.4   At some time in or prior to 2018, the Defendant determined to outsource the

 6                 management of the Senior Center to Wesley Homes, a private non-profit corporation.
 7
           4.3.5   The City and Defendant knew or should have known that by having Ms. Padden
 8
                   appointed to the DMLF Board, they were binding her to the fiduciary role that all
 9
                   Board members by law are required to uphold.
10

11         4.3.6   The City initiated an investigation of Ms. Padden based in whole or in part on her

12                 own freely given Succession Plan and hired the entity Alvarez and Marsal to conduct
13
                   the investigation.
14
           4.3.7   The Alvarez investigation did not uncover proof of wrong-doing by Ms. Padden but
15
                   did find several issues with DMLF.
16

17         4.3.8   The primary issues found related to the Memorial Bench Program and the Arts

18                 Commission. These two programs were outside Ms. Padden's responsibilities for the
19
                   City and the Board.
20
           4.3.9   The Defendant and City were well aware at least as early as March 2017, that the
21

22
                   DMLF provided charity funding more broadly than merely to the City. In the letter of

23                 Defendant to Gene Achziger, DMLF President, March 14, 2017, Defendant states:

24                         "As these services are provided by the Sound Generations
25
                           Organization (and not the City), Legacy can work directly with
                           Sound Generations regarding the $10,000 donation." (Ex. F)


                                                                                THE LAW OFFICE OF
     COMPLAINT FOR DAMAGES &
                                                                                   P. BOSMANS
     JURY DEMAND ~ Page 9 OF 25                                                   1067 25TH ST. PL. SE
                                                                                 PUYALLUP, WA 98372
                                                                                 ⎯⎯⎯⎯⎯⎯⎯⎯⎯
                                                                             PBOSMANS_LAW@OUTLOOK.COM
           Case 2:20-cv-00845-RSL Document 1-1 Filed 06/03/20 Page 11 of 28




             4.3.10 The shared computer drive for the Parks and Recreation department is accessible by
 1
                     all PRSS staff.
 2
     4.4     Defendant
 3
             4.4.1   Defendant possessed full authority to revoke the service of Ms. Padden on the DMLF
 4

 5                   Board as part of her job duties.

 6           4.4.2   At no time in 2018 did Defendant elect to revoke the memorandum requiring Ms.
 7
                     Padden's service on the DMLF Board.
 8
             4.4.3   At no time in 2018 did Defendant seek to clarify with Ms. Padden the City's position
 9
                     as to the public nature of the records that the Board deemed its private records.
10

11           4.4.4   At no time in 2018 did Defendant adopt policies or procedures for Ms. Padden to

12                   follow if a conflict existed between her duty to the City and her fiduciary obligation as
13
                     a DMLF Board member.
14
             4.4.5   On June 14, 2018, Defendant made a public statement to the City Council that an
15
                     action had been taken that very day to limit the access of an employee who was
16

17                   "deleting large numbers of files" from the City server. [emphasis added] (Ex. G)

18           4.4.6   Defendant further stated at the same meeting that "this employee" [whose access had
19
                     been limited] "has been suspended pending the outcome of a further investigation."
20
                     [emphasis added]
21

22
             4.4.7   On July 2, 2018, Defendant publicly stated that the "city had obtained an audio

23                   recording of the employee which confirmed that they had deleted electronic

24                   records….” [emphasis added] (Ex. H)
25



                                                                                   THE LAW OFFICE OF
     COMPLAINT FOR DAMAGES &
                                                                                      P. BOSMANS
     JURY DEMAND ~ Page 10 OF 25                                                      1067 25TH ST. PL. SE
                                                                                     PUYALLUP, WA 98372
                                                                                     ⎯⎯⎯⎯⎯⎯⎯⎯⎯
                                                                                 PBOSMANS_LAW@OUTLOOK.COM
           Case 2:20-cv-00845-RSL Document 1-1 Filed 06/03/20 Page 12 of 28




             4.4.8   The audio file does not confirm that the employee in the audio recording had deleted
 1
                     records. Neither Ms. Padden nor any other employee was suspended for deletion of
 2
                     records on that day. (Ex. I)
 3
             4.4.9   To this date, no one has confirmed who deleted the described files. The Defendant
 4

 5                   stated on July 2, 2018, that the employee who had been confirmed to have deleted

 6                   files no longer worked for the City. (Ex. H)
 7
     4.5     Ms. Padden Disagreed With Defendant Over His Plan to Contract Out Senior Services
 8           to Wesley Homes to Manage the Senior Center and Over Other Decisions

 9           4.5.1   Three weeks before Ms. Padden's retirement date the Defendant called a meeting with
10
                     the Parks and Senior Services Department and announced that he was contracting out
11
                     senior services to Wesley Homes and only Wesley Homes staff could apply.
12
             4.5.2   Beginning in January 2018, Ms. Padden had asked for approval of her Succession
13

14                   Plan for the Senior Center.

15           4.5.3   Ms. Padden had been contacted by a number of people seeking information about the
16
                     vacancies on the Senior Services Advisory Committee, and about her soon to be
17
                     vacant position.
18

19
             4.5.4   Ms. Padden advised people who had been asking about succession of the Defendant' s

20                   decision.

21           4.5.5   Ms. Padden was uncomfortable that there were no discussions, committee meetings,
22
                     council agendas or council meeting discussion about the decision until June 5, 2018.
23
             4.5.6   On or about the second week in June 2018, the Defendant met with Ms. Padden.
24

25
             4.5.7   Defendant acted in an angry manner that Ms. Padden had asked questions regarding

                     the planned management transfer when people sought information. He acted in an
                                                                                 THE LAW OFFICE OF
     COMPLAINT FOR DAMAGES &
                                                                                    P. BOSMANS
     JURY DEMAND ~ Page 11 OF 25                                                    1067 25TH ST. PL. SE
                                                                                   PUYALLUP, WA 98372
                                                                                   ⎯⎯⎯⎯⎯⎯⎯⎯⎯
                                                                               PBOSMANS_LAW@OUTLOOK.COM
           Case 2:20-cv-00845-RSL Document 1-1 Filed 06/03/20 Page 13 of 28




                     angry manner that she had questioned the City Attorney about the legality of certain
 1
                     aspects of his proposal.
 2
             4.5.8   The Defendant stated that Ms. Padden had "been busy, haven’t you?” He told Ms.
 3
                     Padden that if she did not back off and support his plan she would be terminated, or
 4

 5                   words to that effect. Ms.Padden understood Defendant's words, in combination with

 6                   his angry manner, to be a threat.
 7
             4.5.9   In her discussions with seniors about the Wesley Homes plan, Ms. Padden tried to
 8
                     be fair and unbiased.
 9
             4.5.10 The seniors were angry over the plan.
10

11           4.5.11 Signs went up around Wesley Homes and City Hall saying "Wesley Just Wants our

12                   Money".
13
             4.5.12 Seniors came to the June 7, 2018, City Council meeting and spoke out against the idea
14
                     of contracting out senior services.
15
             4.5.13 Defendant believed Ms. Padden was responsible for the seniors' protests.
16

17           4.5.14 Prior to the June 7, 2018, board meeting the Defendant asked to speak to the DMLF

18                   Board and the Board denied his request.
19
             4.5.15 Ms. Padden was on the Board at that time.
20
             4.5.16 Within 7 days of these events, on June 14, 2018, the Defendant publicly humiliated
21

22
                     Ms. Padden, and forced her from the senior center.

23   4.6     The Issue of Public Records

24           4.6.l. The Defendant assumed that Ms. Padden deleted public records between June 12
25
                     and 13 based on this phone message of June 13, 2018:


                                                                                  THE LAW OFFICE OF
     COMPLAINT FOR DAMAGES &
                                                                                     P. BOSMANS
     JURY DEMAND ~ Page 12 OF 25                                                    1067 25TH ST. PL. SE
                                                                                   PUYALLUP, WA 98372
                                                                                   ⎯⎯⎯⎯⎯⎯⎯⎯⎯
                                                                               PBOSMANS_LAW@OUTLOOK.COM
        Case 2:20-cv-00845-RSL Document 1-1 Filed 06/03/20 Page 14 of 28




                             Um Dale [Dale Southwick, Information Technology Manager],
                             we got word that the City is planning on coming in here and
 1
                             confiscating everything about the Des Moines Legacy Foundation
 2                           so I'm boxing like crazy. Could you delete the scanned folder -
                             Des Moines Legacy Foundation - on our copier please? I don't
 3                           know how to do that. Or if you're not comfortable with that, could
                             you please call me and tell me how to delete the Des Moines
 4
                             Legacy Foundation scanned folder. [emphasis added] (Ex. I).
 5
           4.6.2   Mr. Southwick did not reply to Ms. Padden's message, nor did he delete scanner
 6

 7                 files.

 8         4.6.3   Ms. Padden did not know how to delete files from the City server.
 9         4.6.4   Ms. Padden did not delete files from the City server.
10
           4.6.5   Ms. Padden did not know a City server password.
11
           4.6.6   Only two information technology employees have access to the City server password.
12

13         4.6.7   Ms. Padden did not take or put the records back on the server. (Ex. J)

14         4.6.8   Ms. Padden did not take City records "in boxes" from the Senior Center. (Ex. H)
15         4.6.9   Ms. Padden was specific in her phone message request on June 13, 2018, for "DMLF
16
                   files" and not City files. She said "DMLF files" three times.
17
           4.6.10 The Defendant, in public statements at the time, did not state what "public records"
18

19                 had been deleted but did assert that they were recovered.

20         4.6.11 In fact, the records were not "recovered"; they were not deleted..
21         4.6.12 Ms. Padden was at all relevant times fully aware that the City kept back up files.
22
           4.6.13 Ms. Padden had access to the P drive, along with several other employees.
23
           4.6.14 Ms. Padden did not access the P drive on June 13, 2018 because of her retirement
24

25         party that day.

           4.6.15 Ms. Padden was not the liaison to the Des Moines Art Commission at any relevant
                                                                                    THE LAW OFFICE OF
     COMPLAINT FOR DAMAGES &
                                                                                       P. BOSMANS
     JURY DEMAND ~ Page 13 OF 25                                                      1067 25TH ST. PL. SE
                                                                                     PUYALLUP, WA 98372
                                                                                     ⎯⎯⎯⎯⎯⎯⎯⎯⎯
                                                                                 PBOSMANS_LAW@OUTLOOK.COM
           Case 2:20-cv-00845-RSL Document 1-1 Filed 06/03/20 Page 15 of 28




             time.
 1
             4.6.16 Ms. Padden was not involved with the Memorial Bench Program.
 2
             4.6.17 The Issaquah Police Department expressly found that "it does not appear that Padden
 3
                     diverted money, for personal gain, from the City or from the DMLF." (Issaquah
 4

 5                   Police Investigation p.19 of 19.) Nor did she delete documents from the City server.

 6                   The Issaquah Report cites Dale Southwick (City IT manager), who stated that
 7
                     “Padden would not have been able to delete the copier folder without assistance from
 8
                     IT as the ability to delete items from the copier requires a password only retained by
 9
                     IT.” p. 16 of 19. (Ex. K)
10

11   4.7     Defendant Assumed That it Was Ms. Padden Who Had Deleted Records on June 13,
             2018, Called Her In, Presented Her With the Notice of Administrative Leave, and
12           Proceeded to Humiliate Her
13
             4.7. l. By letter of June 14, 2018, the Defendant notified Ms. Padden that she was placed
14
             on Administrative Leave:
15
                     "Notice - Internal Investigation Initiated - Administrative Leave" (Ex.
16
                     I) citing as potential violations: theft, falsification of records,
17                   unauthorized possession or use of any City property, equipment or
                     materials, and injury to and misappropriation of records.
18

19
             4.7.2   The Notice further stated:

20                   BY THIS MEMORANDUM YOU ARE OFFICIALLY ADVISED
                     THAT AN INTERNAL INVESTIGATION IS ONGOING
21                   REGARDING YOUR CONDUCT AND POSSIBLE
22
                     VIOLATION/S OF THE CITY OF DES MOINES PERSONNEL
                     MANUAL AND STATE LAW. YOU ARE HEREBY PLACED ON
23                   ADMINISTRATIVE LEAVE WITH PAY PENDING THE
                     OUTCOME OF THE INVESTIGATION….
24

25
                     ...During this investigation you will be given the opportunity to
                     explain your actions to the investigator as well as through a
                     separate document to me. [emphasis added] (Ex. L)
                                                                                   THE LAW OFFICE OF
     COMPLAINT FOR DAMAGES &
                                                                                      P. BOSMANS
     JURY DEMAND ~ Page 14 OF 25                                                     1067 25TH ST. PL. SE
                                                                                    PUYALLUP, WA 98372
                                                                                    ⎯⎯⎯⎯⎯⎯⎯⎯⎯
                                                                                PBOSMANS_LAW@OUTLOOK.COM
        Case 2:20-cv-00845-RSL Document 1-1 Filed 06/03/20 Page 16 of 28




           4.7.3   This Notice was the first indication Ms. Padden had that she was under
 1

 2                 investigation.

 3         4.7.4   Ms. Padden was not given the opportunity to explain her actions to the investigator.
 4
           4.7.5   On June 14, 2018, Defendant, in person, escorted Ms Padden out of the Senior
 5
                   Center and oversaw her departure in the presence of 50-65 seniors at the Seniors
 6
                   Center.
 7

 8         4.7.6   Defendant timed his presence to coincide with the senior's lunch hour, when the

 9                 Senior Center is fully occupied.
10
           4.7.7   The Defendant rarely entered the Senior Center.
11
           4.7.8   At that time Ms. Padden was allowed to take her personal belonging " boxes" out of
12
                   her office.
13

14         4.7.9   The boxes were examined by Bonnie Wilkins, the then-City Clerk.

15         4.7.10 No DMLF or City records were found in Ms. Padden's boxes.
16
           4.7.11 These boxes were the only boxes Ms. Padden removed from the City.
17
           4.7.12 The Defendant's personal presence at her forced departure caused Ms. Padden
18

19
                   humiliation and embarrassment

20         4.7.13 Several seniors approached Ms. Padden crying and upset about the actions of the

21                 Defendant.
22
           4.7.14 Ms. Padden's keys to the Senior Center were taken and her access to the Senior
23
                   Center and the City computers were shut down.
24

25
           4.7.15 John McEvoy, a senior present during the lunch hour, heard the commotion and

                   confronted the Defendant asking why Ms. Padden was told to leave.
                                                                               THE LAW OFFICE OF
     COMPLAINT FOR DAMAGES &
                                                                                  P. BOSMANS
     JURY DEMAND ~ Page 15 OF 25                                                 1067 25TH ST. PL. SE
                                                                                PUYALLUP, WA 98372
                                                                                ⎯⎯⎯⎯⎯⎯⎯⎯⎯
                                                                            PBOSMANS_LAW@OUTLOOK.COM
        Case 2:20-cv-00845-RSL Document 1-1 Filed 06/03/20 Page 17 of 28




           4.7.16 Defendant cornered Mr. McEvoy and said he did not ask Ms. Padden to pack up her
 1
                  belongings and leave. After Ms. Padden left, Mr. McEvoy was told by Charisse
 2
                  Gregory "he did too tell her to get out." Four days later the Defendant again
 3
                  approached Mr. McEvoy and tried to convince him that he had misunderstood what
 4

 5                had happened at the Senior Center. Mr. McEvoy told the Defendant he "did not

 6                misunderstand what was said” and that the Defendant “had lied” to him.
 7
           4.7.17 Mr. McEvoy was so angry about the manner in which Ms. Padden was treated that
 8
                  he appeared at the Des Moines City Council meeting on June 28, 2018, and
 9
                  reiterated his comments to the entire City Council that the Defendant had not told
10

11                the truth to him when asked. He also stated that the manner in which the Defendant

12                acted was shabby and that he would never treat anybody the way Ms. Padden was
13
                  treated.
14
           4.7.18 Alan Masterson was also at the Senior Center when the Defendant oversaw Ms.
15
                  Padden packing her belongings and leaving the Center. Mr. Masterson asked the
16

17                Defendant "what the hell is going on?" The Defendant would not respond.

18         4.7.19 Mr. Masterson was so angry about the events of the 14th that he also spoke at the
19
                  June 28, 2018, Des Moines City Council meeting.
20
           4.7.20 He stated that:
21

22
                  "Sue was dedicated to her work and professional in her manner while
                  being a kind friend to everyone at the Senior Center. She was very
23                well thought of and even as she was being publicly fired and
                  marched out of the Center, while she was upset, she did what she was
24                told and left with her dignity intact. Mr. Mathias had damaged Sue's
25
                  reputation, a reputation that took 22 years to create. I still do not
                  understand why the Defendant chose to act the way he did. It was
                  embarrassing to anyone watching his action. I can only assume he is
                                                                              THE LAW OFFICE OF
     COMPLAINT FOR DAMAGES &
                                                                                 P. BOSMANS
     JURY DEMAND ~ Page 16 OF 25                                                 1067 25TH ST. PL. SE
                                                                                PUYALLUP, WA 98372
                                                                                ⎯⎯⎯⎯⎯⎯⎯⎯⎯
                                                                            PBOSMANS_LAW@OUTLOOK.COM
        Case 2:20-cv-00845-RSL Document 1-1 Filed 06/03/20 Page 18 of 28




                  a petty person who likes to pick on others to show again that he "is
                  the boss". He has completely underestimated how upsetting this was
 1
                  to the seniors in the City that day and it is still the talk of the City and
 2                the Senior Center." [emphasis added] Declaration of Masterson.

 3         4.7.21 Others at the Senior Center that day expressed being upset at seeing the City
 4
                  Manager there to oversee Ms. Padden packing up her items and leaving.
 5
                  [emphasis added]
 6
           4.7.22 Seniors noted that Ms. Padden was very upset and extremely embarrassed.
 7

 8         4.7.23 The Defendant had four management level personnel who could have placed Ms.

 9                Padden on administrative leave: the Human Resources manager, the Assistant City
10
                  Manager (Chief Operations Officer), the Department Director for the Parks,
11
                  Recreations and Senior Services Department and/or the Chief Strategic Officer. He
12
                  chose to act against Ms. Padden personally and publicly.
13

14         4.7.24 Defendant’s choice to personally see to her exit takes on added significance when

15                taken together with his statements on June 14, 2018, and July 2, 2018, and later, at
16
                  Council Meetings.
17
           4.7.25 The Defendant also had several facilities at his disposal to meet with Ms. Padden,
18

19
                  including City Hall, where his office is located, the Parks Fieldhouse where the

20                Parks Director is located, the Human Resources Office or any of the many facilities,

21                but he chose to oversee Ms. Padden's departure from the Senior Center. All other
22
                  employees under investigation were spoken to by Dan Brewer, Assistant City
23
                  Manager, without others present. Mr. Brewer advised the employees that "someone
24

25
                  in this department has committed a felony". All other employees remained at work



                                                                                   THE LAW OFFICE OF
     COMPLAINT FOR DAMAGES &
                                                                                      P. BOSMANS
     JURY DEMAND ~ Page 17 OF 25                                                     1067 25TH ST. PL. SE
                                                                                    PUYALLUP, WA 98372
                                                                                    ⎯⎯⎯⎯⎯⎯⎯⎯⎯
                                                                                PBOSMANS_LAW@OUTLOOK.COM
        Case 2:20-cv-00845-RSL Document 1-1 Filed 06/03/20 Page 19 of 28




                  during the course of the administrative review, all other employees were left
 1
                  believing that the felon was the one employee summarily escorted out, Ms. Padden.
 2
           4.7.26 The Defendant made a public statement at a televised Des Moines City Council
 3
                  meeting on the same day, June 14, 2018, asserting the following violation of the
 4

 5                Public Records Act:

 6                        " Yesterday, it was confirmed that a city employee was acting
                          in a way to compromise that investigation, specifically
 7
                          deleting large numbers of files from the city's server," said
 8                        Matthias. "These actions put the city at great risk." (Ex. G)

 9         4.7.27 Given Defendant' s earlier unusual presence at the Senior Center, every member
10
                  who had been in attendance and every person to whom they had recounted the tale
11
                  knew without a doubt to whom Defendant was referring. The Defendant further
12
                  stated: "Additionally, the City obtained an audio recording of the employee which
13

14                confirmed that they had deleted electronic records.” (Ex. H)

15         4.7.28 The audio recording on its face demonstrates that it did not confirm that anyone had
16
                  deleted electronic records. (Ex. I)
17
           4.7.29 He further stated on July 2, 2018: "they were boxing records related to the
18

19
                  investigation in order to remove them from City buildings.” (Ex. H)

20         4.7.30 Ms. Padden was not aware of "the investigation."

21         4.7.31 No other employees who were also on the DMLF Board, or authorized by the
22
                  former City Manager to assist DMLF were treated in a similar manner.
23
           4.7.32 Ms. Padden was the only employee who was placed on administrative leave.
24

25
           4.7.33 Only Ms. Padden was forced out of her work-place under the watchful eyes of the

                  Defendant himself.
                                                                              THE LAW OFFICE OF
     COMPLAINT FOR DAMAGES &
                                                                                 P. BOSMANS
     JURY DEMAND ~ Page 18 OF 25                                                1067 25TH ST. PL. SE
                                                                               PUYALLUP, WA 98372
                                                                               ⎯⎯⎯⎯⎯⎯⎯⎯⎯
                                                                           PBOSMANS_LAW@OUTLOOK.COM
           Case 2:20-cv-00845-RSL Document 1-1 Filed 06/03/20 Page 20 of 28




             4.7.34 Only one employee was impugned on television at the City Council meetings and
 1
                     through media reports prepared by the City, and because of her disparate treatment,
 2
                     her identity was well known.
 3
     4.8     None of the Investigators Concluded That Ms. Padden Violated Public Records
 4
             Law or Committed the Crime of Theft
 5
             4.8.1   Four investigators have concluded their work as part of the group looking into the
 6
                     actions of Ms. Padden for the purpose of taking further action against her.
 7

 8           4.8.2   Of the four investigations none have found that she violated the public records act or

 9           that she should be charged with theft.
10
             4.8.3   These investigators included:
11
                A) Alvarez & Marsal Valuation Services, L.L.C., (hereinafter "Alvarez
12                  Report)
                B) King County Prosecutor Fraud Division.
13
                C) Issaquah Police Department
14              D) Special Prosecutor Lee
                E) The State Auditor’s Office has also conducted an investigation that
15              has been closed; their investigation has not been posted.
16
             4.8.4   Ms. Padden was not given an opportunity to make a statement to the investigators
17
                     over the course of the 483 days after the Notice of Administrative Leave was
18

19
                     presented to her (until a criminal detective for the Des Moines Police Department

20                   invited her to speak in the fall of 2019 during the course of an additional criminal

21                   investigation; she declined).
22
             4.8.5   The many investigators the City employed further embarrassed and humiliated Ms.
23
                     Padden, adding to her physical and emotional distress.
24

25
             4.8.6   Defendant employed the many investigators in part or completely based upon

                     animus toward Ms. Padden.
                                                                                  THE LAW OFFICE OF
     COMPLAINT FOR DAMAGES &
                                                                                     P. BOSMANS
     JURY DEMAND ~ Page 19 OF 25                                                    1067 25TH ST. PL. SE
                                                                                   PUYALLUP, WA 98372
                                                                                   ⎯⎯⎯⎯⎯⎯⎯⎯⎯
                                                                               PBOSMANS_LAW@OUTLOOK.COM
           Case 2:20-cv-00845-RSL Document 1-1 Filed 06/03/20 Page 21 of 28




     4.9     Ms. Padden Denies Any and All Wrongdoing
 1
     4.10    Ms. Padden Was Injured by Defendant's Humiliating Treatment of Her
 2
     4.11    Ms. Padden Was Injured by Defendant's Disparate Treatment of Her
 3
     4.12    Ms. Padden Was Injured by Defendant's Retaliatory Treatment of Her
 4

 5   4.13    Ms. Padden's Injuries Were Exacerbated in 2019

 6           4.13.1 At a televised City Council meeting on October 11, 2019, the City stated that
 7
                    criminal activity did occur vis a vis "the employee" and DMLF, but that there was
 8
                    not enough evidence to meet the standard required in a court of law.
 9
             4.13.2 This statement revived the accusations once again against Ms. Padden.
10

11           4.13.3 The October 10, 2019, televised Council meeting made use of a Powerpoint entitled

12                  "Investigation Update" which stated:
13
                    Slide 18:
14                  Findings
                    Although probable cause exists to believe crimes were committed,
15                  evidentiary issues would make proving charges "beyond a
16                  reasonable doubt" difficult. Therefore, the Special Prosecutor has
                    not recommended criminal charges be filed at this time. Based on
17                  information currently available, criminal probe is now closed.
18
                    [emphasis added] (Ex. M)

19           4.13.4 A Des Moines "News Flash" (Ex. N ) instead stated under the
                    heading "City Announces end of Criminal Probe into Actions of
20
                    Local Non-Profit, Continues to Seek Restitution,” posted October 11,
21                  2019: ... After completing the investigation, the case was referred to
                    a Special Prosecutor to review the matter for criminal charges.
22                  Although criminal activity did occur, the Special Prosecutor found
                    that based on the information available, there was not sufficient
23
                    evidence to link specific individuals to the crimes beyond a
24                  reasonable doubt. (emphasis added) (Ex.L). (See also Ex. O
                    “Statement Regarding the City of Des Moines Ending its Criminal
25                  Investigation of the Des Moines Legacy Foundation.”)


                                                                                THE LAW OFFICE OF
     COMPLAINT FOR DAMAGES &
                                                                                   P. BOSMANS
     JURY DEMAND ~ Page 20 OF 25                                                   1067 25TH ST. PL. SE
                                                                                  PUYALLUP, WA 98372
                                                                                  ⎯⎯⎯⎯⎯⎯⎯⎯⎯
                                                                              PBOSMANS_LAW@OUTLOOK.COM
           Case 2:20-cv-00845-RSL Document 1-1 Filed 06/03/20 Page 22 of 28




                                          V.         STATUTORY AUTHORITY
 1
           5.1      RCW 42.56.060. Disclaimer of public liability.
 2
                  No public agency, public official, public employee, or custodian shall be liable, nor
 3                shall a cause of action exist, for any loss or damage based upon the release of a public
                  record if the public agency, public official, public employee, or custodian acted in good
 4
                  faith in attempting to comply with the provisions of this chapter. [emphasis added]
 5
           5.2      RCW 9A.56.020: Theft - Definition, - defense.
 6
           1) "Theft" means:
 7              (a) To wrongfully obtain or exert unauthorized control over the property or services
                of another or the value thereof, with intent to deprive him or her of such property or
 8              services; or
 9              (b) By color or aid of deception to obtain control over the property or services of
                another or the value thereof, with intent to deprive him or her of such property or
10              services; or
                (c) To appropriate lost or misdelivered property or services of another, or the
11
                value thereof, with intent to deprive him or her of such property or services.
12                              (i) In any prosecution for theft, it shall be a sufficient defense that:
13
                                    The property or service was appropriated openly and avowedly
                                    under a claim of title made in good faith, even though the claim be
14                                  untenable; or
15                                (ii) The property was merchandise pallets that were received by a pallet
                                       recycler or repairer in the ordinary course of its business.
16                                 [emphasis added]
17

18                                             VI.     CAUSES OF ACTION
19   6.1         Preliminary Matters
20
                 6.1.1   This complaint is based on the wrongful actions of Defendant and the City of Des
21
                         Moines by and through its agents and employees in their actions against Ms. Padden
22

23                       in which they intentionally, recklessly and unreasonably caused Ms. Padden

24                       extreme emotion distress and mental anguish, making it appear that the reason for
25                       Ms. Padden leaving her office was due to Ms. Padden's felonious criminal


                                                                                    THE LAW OFFICE OF
     COMPLAINT FOR DAMAGES &
                                                                                       P. BOSMANS
     JURY DEMAND ~ Page 21 OF 25                                                      1067 25TH ST. PL. SE
                                                                                     PUYALLUP, WA 98372
                                                                                     ⎯⎯⎯⎯⎯⎯⎯⎯⎯
                                                                                 PBOSMANS_LAW@OUTLOOK.COM
           Case 2:20-cv-00845-RSL Document 1-1 Filed 06/03/20 Page 23 of 28




                     violations, and in their actions intentionally and/or negligently, unreasonably and in
 1
                     retaliation for her protected activities. Ms. Padden reserves the right to assert
 2
                     additional facts and legal theories should discovery reveal they are appropriate.
 3
             6.1.2   Ms. Padden realleges each of the preceding paragraphs as though fully set forth in
 4

 5                   the following causes of action.

 6   6.2     Intentional and/or Negligent Infliction of Emotional Distress
 7
             6.2.1   The aforesaid acts of defendants and each of them constitute the torts of intentional
 8
                     and/or negligent infliction of emotional distress against Ms. Padden.
 9
             6.2.2   The Defendant negligently caused Ms. Padden great emotional stress, which both
10

11                   sickened her and strained her companion partnership.

12           6.2.3   The investigation by numerous investigators has now been hanging over Ms.
13
                     Padden’s head for 698 days and counting. Every day since she left the City she has
14
                     suffered emotional and physical distress.
15
     6.3     Defamation
16

17           6.3.1   The Defendants intentionally and/or recklessly disseminated false and defamatory

18                   statements concerning Ms. Padden to the public knowing that they did not have
19
                     information to support the statements, knowing that the information was
20
                     unsubstantiated, false, and/or knowing that no proper and complete investigation
21

22
                     had been undertaken.

23           6.3.2   The dissemination of the false and defamatory statements has caused actual harm to

24                   Ms. Padden whose professional reputation has been defamed as a proximate and
25
                     direct result of the defamatory publication.


                                                                                    THE LAW OFFICE OF
     COMPLAINT FOR DAMAGES &
                                                                                       P. BOSMANS
     JURY DEMAND ~ Page 22 OF 25                                                      1067 25TH ST. PL. SE
                                                                                     PUYALLUP, WA 98372
                                                                                     ⎯⎯⎯⎯⎯⎯⎯⎯⎯
                                                                                 PBOSMANS_LAW@OUTLOOK.COM
           Case 2:20-cv-00845-RSL Document 1-1 Filed 06/03/20 Page 24 of 28




 1
     6.4     Violation of the First Amendment
 2
             6.4.1   The Defendant retaliated against Ms. Padden for her outspoken criticism and
 3
                     activism in opposition to the outsourcing of the Senior Center to Wesley Homes by
 4

 5                   publicly humiliating her and ensuring that numerous people knew she had been

 6                   placed on leave on suspicion of theft of public records and of money owing to the
 7
                     City.
 8
             6.4.2   The Defendant additionally based his retaliation against Ms. Padden on her other
 9
                     statements and activities.
10

11           6.4.3   Defendant further pursued Ms. Padden long past the point a reasonable person

12                   would have done, in retaliation for her earlier actions.
13
     6.5 Outrage
14
             6.5.1 The aforesaid acts of Defendants and each of them constitute the tort of outrage
15
                     against Ms. Padden. This conduct is ongoing and includes but is not limited to, the
16

17                   ongoing and baseless threats of criminal prosecution and investigation.

18           6.5.2 The Defendant’s outrageous conduct caused Mr. Padden great emotional distress and
19
                     stress, which both sickened her and strained her companion partnership.
20
             6.5.3 The investigation by numerous investigators has now been hanging over Ms.
21

22
                     Padden’s head for 698 days. Every day since she left the City she has suffered

23                   emotional and physical distress.

24

25



                                                                                  THE LAW OFFICE OF
     COMPLAINT FOR DAMAGES &
                                                                                     P. BOSMANS
     JURY DEMAND ~ Page 23 OF 25                                                     1067 25TH ST. PL. SE
                                                                                    PUYALLUP, WA 98372
                                                                                    ⎯⎯⎯⎯⎯⎯⎯⎯⎯
                                                                                PBOSMANS_LAW@OUTLOOK.COM
           Case 2:20-cv-00845-RSL Document 1-1 Filed 06/03/20 Page 25 of 28




     6.6     Retaliation
 1
             6.6.1 The aforesaid acts of Defendants and each of them constitute retaliation against Ms.
 2
                     Padden through numerous investigation, and her placement on administrative leave,
 3
                     based on no known facts that she had acted improperly in any manner.
 4

 5   6.7     Age and Gender Bias

 6           6.7.1 The aforesaid actions of Defendants and each of them constitute age and gender bias
 7
                     in violation of State and federal law as will be established at trial based on the past
 8
                     acts of the Defendant with regards to disparity of treatment based on gender and
 9
                     age.
10

11   6.8     Hostile Work Environment

12           6.8.1 The aforesaid actions of Defendants and each of them constituted a hostile work
13
                     environment in violation of State law against Ms. Padden. This conduct included,
14
                     but not limited to, the ongoing and baseless threats of criminal prosecution and
15
                     investigation.
16

17
     6.9     Federal Civil Rights violations of the United States Constitution 4th and
18           14thAmendments Pursuant to 42 U.S.C. § 1983
19
             6.9.1   By virtue of the facts set forth above, the defendants are liable for
20

21                   compensatory and punitive damages for the deprivation of the civil rights

22                   of the Ms. Padden which are guaranteed by the Fourth Amendment to the
23
                     United States Constitution and 42 U.S.C. § 1983 to be free from
24
                     unreasonable search of her person.
25

             6.9.2 The Defendant through their agent, violated 42 U.S.C. § 1983 in his

                                                                                    THE LAW OFFICE OF
     COMPLAINT FOR DAMAGES &
                                                                                       P. BOSMANS
     JURY DEMAND ~ Page 24 OF 25                                                      1067 25TH ST. PL. SE
                                                                                     PUYALLUP, WA 98372
                                                                                     ⎯⎯⎯⎯⎯⎯⎯⎯⎯
                                                                                 PBOSMANS_LAW@OUTLOOK.COM
         Case 2:20-cv-00845-RSL Document 1-1 Filed 06/03/20 Page 26 of 28




                   unreasonable treatment of the Plaintiff based on the facts asserted in the
 1
                   Complaint and any additional facts should they be appropriate.
 2

 3
            WHEREFORE, Ms. Padden prays for the following relief, jointly and severally, against the
 4
     Defendant and the City:
 5

 6                                      PRAYER FOR RELIEF

 7      •   Awarding Ms. Padden general and specific damages;
 8
        •   Awarding reasonable attorney’s fees and costs as available under law; and
 9
        •   Awarding Ms. Padden any and all applicable interests on the judgment and on
10

11
            attorneys fees.

12
            Dated this ____ day of _________________, 2020.
13

14
     By:        s/ Patricia Bosmans                            By:__s/ Eric T. Krening __________
15
     PATRICA BOSMANS, WSBA #914                                ERIC T. KRENING, WSBA #27533
16
     Attorney for Plaintiff                                    Law Office of Eric T. Krening
     1607 25th St. Pl. S.E.                                    535 Dock St., Ste 108
17   Puyallup, WA 98372                                        Tacoma, WA 98402-4629
     Phone: (253) 203-4737                                     Phone: (208) 948-9484
18   Fax: 1-888-235-6120                                       Fax: (253) 572-2223
19
     E-Mail: PBosmans_Law@outlook.com                          E-mail: kreninglaw@gmail.com

20

21

22

23

24

25



                                                                             THE LAW OFFICE OF
     COMPLAINT FOR DAMAGES &
                                                                                P. BOSMANS
     JURY DEMAND ~ Page 25 OF 25                                                1067 25TH ST. PL. SE
                                                                               PUYALLUP, WA 98372
                                                                               ⎯⎯⎯⎯⎯⎯⎯⎯⎯
                                                                           PBOSMANS_LAW@OUTLOOK.COM
         Case 2:20-cv-00845-RSL Document 1-1 Filed 06/03/20 Page 27 of 28




 1

 2

 3

 4

 5

 6
     SUPERIOR COURT OF WASHINGTON
 7
     COUNTY OF KING
 8
             SUSAN PADDEN, a single woman
 9
                                                  Plaintiff,       NO.
10
             vs.
11                                                                 SUMMONS (20 days)
             CITY OF DES MOINES, a Washington
12           Municipal Corporation, AND
             MICHAEL MATTHIAS,
13

14                                            Defendants.

15

16
             TO THE DEFENDANT:
             A lawsuit has been started against you in the above entitled court by SUSAN PADDEN,
17
     plaintiff. Plaintiff's claim is stated in the written complaint, a copy of which is served upon you with
18
     this summons.
19

20           In order to defend against this lawsuit, you must respond to the complaint by stating your
21   defense in writing, and by serving a copy upon the person signing this summons within 20 days

22   after the service of this summons, excluding the day of service, or a default judgment may be
     entered against you without notice. A default judgment is one where plaintiff is entitled to what she
23
     or he asks for because you have not responded. If you serve a notice of appearance on the
24
     undersigned person, you are entitled to notice before a default judgment may be entered.
25



                                                                                   THE LAW OFFICE OF
                                                                                      P. BOSMANS
     Summons ~ Page 1 of 2                                                           1067 25TH ST. PL. SE
                                                                                    PUYALLUP, WA 98372
                                                                                    ⎯⎯⎯⎯⎯⎯⎯⎯⎯
                                                                                PBOSMANS_LAW@OUTLOOK.COM
         Case 2:20-cv-00845-RSL Document 1-1 Filed 06/03/20 Page 28 of 28




            You may demand that the plaintiff file this lawsuit with the court. If you do so, the demand
 1   must be in writing and must be served upon the person signing this summons. Within 14 days after
 2   you serve the demand, the plaintiff must file this lawsuit with the court, or the service on you of

 3   this summons and complaint will be void.

 4
            If you wish to seek the advice of an attorney in this matter, you should do so promptly so
 5
     that your written response, if any, may be served on time.
 6

 7          This summons is issued pursuant to rule 4 of the Superior Court Civil Rules of the State of
     Washington.
 8

 9

10   Dated this ____ day of _________________, 2020.

11

12   By:        s/ Patricia Bosmans                                By:__s/ Eric T. Krening __________
     PATRICA BOSMANS, WSBA #914                                    ERIC T. KRENING, WSBA #27533
13   Attorney for Plaintiff                                        Law Office of Eric T. Krening
     1607 25th St. Pl. S.E.                                        535 Dock St., Ste 108
14
     Puyallup, WA 98372                                            Tacoma, WA 98402-4629
15   Phone: (253) 203-4737                                         Phone: (208) 948-9484
     Fax: 1-888-235-6120                                           Fax: (253) 572-2223
16   E-Mail: PBosmans_Law@outlook.com                              E-mail: kreninglaw@gmail.com
17

18

19

20

21

22

23

24

25



                                                                                  THE LAW OFFICE OF
                                                                                     P. BOSMANS
     Summons ~ Page 2 of 2                                                          1067 25TH ST. PL. SE
                                                                                   PUYALLUP, WA 98372
                                                                                   ⎯⎯⎯⎯⎯⎯⎯⎯⎯
                                                                               PBOSMANS_LAW@OUTLOOK.COM
